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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



MARIA E. PANTOJA,                     §
                                      §
                   Plaintiff,         §
                                      §
v.                                    §         CIVIL ACTION NO. H-19-3442
                                      §
JPMORGAN CHASE BANK, N.A.,            §
                                      §
                   Defendant.         §


                      MEMORANDUM OPINION AND ORDER


      Plaintiff Maria E. Pantoja          ("Plaintiff"),    sued defendant

JPMorgan Chase Bank,       N.A. ("Defendant") in the 164th Judicial

District Court of Harris County, Texas. 1        Defendant timely removed

the action to this court. 2     Pending before the court is Defendant's

Fed. R. Civ. P. 12(b)(6) Motion to Dismiss Plaintiff's Complaint

for Failure to State a Claim ("Motion to Dismiss") (Docket Entry

No. 5).      For the reasons stated below, the Motion to Dismiss will

be granted, and this action will be dismissed with prejudice.


           I.    Factual Allegations and Procedural Background

      Plaintiff's Original Petition alleges that she and her ex­

husband, Ascencion Zarate, owned the real property located at 7801


      See Plaintiff's Original Petition and Request for Temporary
      1

Restraining Order ("Original Petition"), Exhibit A-3 to Defendant's
Notice of Removal, Docket Entry No. 1-2, p. 9. All page numbers
for docket entries in the record refer to the pagination inserted
at the top of the page by the court's electronic filing system,
CM/ECF.
      2
          See Defendant's Notice of Removal, Docket Entry No. 1.
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Pecan Villas Drive, Houston, Texas 77061 ("the Property") under a
warranty deed.        They financed the home through loans from New
Century Mortgage Corporation.         The loans were transferred to
Defendant     in   2006.   On   September   26,   2006,   the   loans were
refinanced into a single loan in the amount of $137,748.72.               Both
Plaintiff and Zarate signed the deed of trust, but only Zarate

signed the promissory note that named him "Borrower." 3
     By 2019 Plaintiff and Zarate had failed to pay property taxes
on the Property for the past two years.             In February of 2019
Defendant exercised its right under the deed of trust to pay the
taxes on the property and demand reimbursement from the owners. 4
Defendant demanded immediate payment of the full amount of taxes
paid plus expenses incurred for a total of $4,414.82.            Plaintiff
offered a partial payment and sought to negotiate a payment plan,
but Defendant insisted on immediate repayment as provided by the

terms of the deed of trust.        When Plaintiff and Zarate did not
timely pay, Defendant exercised its right under the deed of trust
to declare a default for failure to pay taxes. 5          Pursuant to the
default, Defendant accelerated the entire amount owed under the
note and took steps to begin foreclosure proceedings. 6


     3
      Deed of Trust, Exhibit A-3 to Defendant's Notice of Removal,
Docket Entry No. 1-2, pp. 33, 38; Promissory Note, Exhibit A to
Defendant's Motion to Dismiss, Docket Entry No. 5-1, pp. 2-3.
     4
      Deed of Trust, Exhibit A-3 to Defendant's Notice of Removal,
Docket Entry No. 1-2, p. 34.
     5
         Id. at 35.


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      On August 29,        2019,        Plaintiff brought an action in state

district      court    seeking          an    injunction        to   halt     foreclosure

proceedings and alleging claims of breach of contract, negligence

per se, unreasonable debt collection efforts under Texas common

law, the Texas Debt Collection Act, and the Texas Deceptive Trade

Practices Act. 7       On September 12,              2019,      Defendant removed the

action to this court alleging diversity jurisdiction under 28

U.S.C. § 1441. 8      On September 23, 2019, Defendant moved to dismiss

Plaintiff's claims for failure to state a claim upon which relief

can be granted under Federal Rule of Civil Procedure 12 (b) (6). 9

Plaintiff has not filed a response to Defendant's Motion to

Dismiss.       Each claim in Plaintiff's Original Petition will be

analyzed under the standard of review set forth below.


                           II.      Standard of Review

      Under the Federal Rules of Civil Procedure a pleading must

contain "a short and plain statement of the claim showing that the

pleader is entitled to relief.                 11
                                                    Fed.   R.    Civ.   P.   8 (a) (2).   A

plaintiff's pleading must provide the grounds of his entitlement to

relief and "a formulaic recitation of the elements of a cause of

action will not do.                II
                                             Bell Atlantic Corp. v. Twombly, 127

S.   Ct.    1955,   1965   (2007).            "' [N] aked assertion [s] ' devoid of


      Original Petition, Exhibit A-3 to Defendant's Notice of
      7

Removal, Docket Entry No. 1-2, pp. 9, 12-21.
      8
          Defendant's Notice of Removal, Docket Entry No. 1, p. 2.
      9
          Motion to Dismiss, Docket Entry No. 5, p. 6.
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'further factual enhancement'" or "[t]hreadbare recitals of the

elements of a cause of action,            supported   by mere conclusory

statements, do not suffice."        See Ashcroft v. Iqbal, 129 S. Ct.

1937, 1949 (2009).     "[C]onclusory allegations or legal conclusions

masquerading as factual conclusions will not suffice to prevent a

motion to dismiss."    Fernandez-Montes v. Allied Pilots Association,

987 F.2d 278, 284 (5th Cir. 1993).        Instead, "[a] claim has facial

plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged."         Iqbal, 129 S. Ct. at 1949.

     A Rule 12(b)(6) motion tests the formal sufficiency of the

pleadings   and   is   "appropriate    when   a   defendant    attacks     the

complaint because it fails to state a legally cognizable claim."

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001), cert.

denied sub nom. Cloud v. United States, 122 S. Ct. 2665 (2002). To

defeat a motion to dismiss, a plaintiff must plead "enough facts to

state a claim to relief that is plausible on its face."            Twombly,

127 S. Ct. at 1974.    The court does not "strain to find inferences

favorable to the plaintiffs" or "accept conclusory allegations,

unwarranted deductions, or legal conclusions." Southland Securities

Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 361 (5th Cir.

2004) (internal quotation marks and citations omitted).            "[C]ourts

are required to dismiss, pursuant to [Rule 12(b) (6)], claims based

on invalid legal theories, even though they may be otherwise well­

pleaded."    Flynn v. State Farm Fire and Casualty Insurance Co.

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(Texas), 605 F. Supp. 2d 811, 820 (W.D. Tex. 2009) (citing Neitzke

v. Williams, 109 S. Ct. 1827, 1832 (1989)).

      In ruling on a Rule 12(b)(6) motion the court must "accept the

plaintiff's well-pleaded facts as true and view them in the light

most favorable to the plaintiff."          Chauvin v. State Farm Fire        &

Casualty Co., 495 F.3d 232, 237 (5th Cir. 2007). Review is limited

to the complaint, any documents attached to the complaint, and any

documents attached to the motion to dismiss that are central to the

claims and referred to by the complaint.         Lone Star Fund V (U.S.),

L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010).


                              III.    Analysis

A.    Breach of Contract

      Plaintiff alleges Defendant breached the parties' contract by

refusing to accept her partial payment for the delinquent taxes,

failing to provide a reasonable right to cure,              and failing to

provide notice of default prior to acceleration in 2016 . 10 Defendant

argues this claim must be dismissed because the facts pled by

Plaintiff do not show a violation of the contract's terms.                  To

determine if Plaintiff has stated a valid claim,              the court may

consider both the deed of trust attached to Plaintiff's Original

Petition and the promissory note attached to Defendant's Motion to

Dismiss.    Lone Star Fund V (U.S.), 594 F.3d at 387.



      original Petition, Exhibit A- 3 to Defendant's Notice of
      10

Removal, Docket Entry No. 1-2, pp. 12-13.

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      Plaintiff must plead facts showing that Defendant failed to
act in accordance with the agreement in order to state a claim for
breach of contract.         Henry v. Masson, 333 S.W.3d 825, 835 (Tex.
App.- Houston [1st Dist.] 2010, no pet.).          Plaintiff must identify
the specific provision of the contract that the Defendant allegedly

breached.       Baker v. Great Northern Energy, Inc., 64 F. Supp. 3d
965, 971       (N.D. Tex.   2014).   The deed of trust obligates the

Plaintiff and Zarate to timely pay all taxes levied on the
property.11 It states that the Defendant may hold the Plaintiff and
Zarate in default for failure "to make any payment for taxes." 12
Default may be avoided if the issue is cured within fifteen days of
receiving notice of the failure precipitating default. 13            Once in
default, the lender may demand the entire amount of indebtedness

due. 14     Contrary to Plaintiff's allegations, the deed of trust
contains no provision specifying the manner, timing, or necessary

recipient of any notice the lender may be obligated to send under
Texas law. 15


      Deed of Trust, Exhibit A-3 to Defendant's Notice of Removal,
      11

Docket Entry No. 1-2, p. 34.
      12
           Id. at 35.




      The Original Petition cites "Provision 22. Acceleration
      15

Remedies," Docket Entry No. 1-2, p. 12 n.2, but the provisions in
the deed of trust are not numbered and there is no section titled
"Acceleration Remedies."
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      The Original Petition states that Plaintiff fell into arrears
for failure to pay taxes, and Plaintiff did not fully reimburse
Defendant for those unpaid taxes when asked to do so. 16           Under the
plain terms of the contract Defendant was therefore within its
rights to declare a default and accelerate the loan.               Plaintiff

does not allege Defendant gave less than the contractually provided
fifteen days to cure.          Plaintiff points to no provision that
required Defendant to accept partial payment of the taxes or send
her notice of default or acceleration.          Because Plaintiff has not

identified any provision in the contract that Defendant's conduct
allegedly breached, her breach of contract claim fails as a matter
of law.    Baker, 64 F. Supp. 3d at 971.


B.    Negligence Per Se

      Plaintiff asserts a claim in negligence per se for Defendant's
alleged violation of section 51.002 of the Texas Property Code.
"The unexcused violation of a statute or ordinance constitutes
negligence as a matter of law if such statute or ordinance was
designed to prevent injury to the class of persons to which the
injured party belongs."        Nixon v. Mr. Property Management Co. ,
Inc., 690 S.W.2d 546, 549 (Tex. 1985).          To sustain her negligence
per se claim Plaintiff must plead facts that would demonstrate
Defendant violated the statute. Kennedy v. HSBC Mortgage Services,


      Original Petition, Exhibit A-3 to Defendant's Notice of
      16

Removal, Docket Entry No. 1-2, p. 11 �� 9, 11.
                                     -7-
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Inc., Civil No. SA-14-CA-1083-FB, 2015 WL 12734178, at *7 (W.D.

Tex. January 30, 2015).

        Under the Texas Property Code "the mortgage servicer of the

debt shall serve a debtor in default .          . with written notice by

certified mail stating that the debtor is in default" and "giv[e]

the debtor at least 20 days to cure the default."          Tex. Prop. Code

§ 51.002(d).      The "debtor" who must be provided notice is the

borrower on the promissory note; a spouse who signs the deed of

trust but not the promissory note is not a "borrower" or "debtor"

entitled to notice under the statute.           Robinson v. Wells Fargo

Bank, N.A., 576 F. App'x 358, 361 (5th Cir. 2014).               After such

notice and twenty days have elapsed,          the servicer must provide

notice of sale at least twenty-one days before the foreclosure

sale.     Tex. Prop. Code § 51.002(b).

        Here, Plaintiff signed only the deed of trust; Zarate is the

only signor on the promissory note.17        Plaintiff is therefore not

a "debtor"    under the statute.       Robinson,     576 F. App'x at 361.

Defendant cannot have violated the statute by failing to provide

Plaintiff notice,     which is the        basis of    Plaintiff's claim.18

Plaintiff also fails to allege when Defendant provided notice of

sale or whether Defendant held a foreclosure sale at all.           Without


      Promissory Note, Exhibit A to Motion to Dismiss, Docket Entry
     17

No. 5-1, p. 2.
      Original Petition, Exhibit A-3 to Notice of Removal, Docket
     18

Entry No. 1-2, p. 15 � 22.
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such facts Plaintiff cannot establish a plausible claim that

Defendant violated section 51.002.            The claim accordingly fails as
a matter of law.


C.     Texas Debt Collection Act

       Plaintiff alleges that Defendant violated the Texas Debt
Collection Act.        Defendant argues that the only specific conduct
alleged by Plaintiff was lawful and the remainder of Plaintiff's

allegations are vague and conclusory.               The Texas Debt Collection
Act    provides    a   cause    of   action   against    creditors      and   debt
collectors who engage in prohibited conduct to collect debts. Tex.
Civ. Prac. & Rem. Code § 392. 403.              Prohibited conduct includes
threatening to take action prohibited by law, harassing and abusing
the    debtor,    resorting     to   unfair   or    unconscionable      means   in
collecting the debt, and misrepresenting the character, extent, or
amount of debt.         Tex. Fin. Code §§ 392.301-.304.            But the Debt
Collection       Act   authorizes    creditors     to   threaten   to   exercise
statutory or contractual rights, and foreclosure is not an act
prohibited by law.        Tex. Fin. Code § 392.301; Rucker v. Bank of
America, N.A., 806 F.3d 828, 831 (5th Cir. 2015).
       As explained above, Plaintiff has not pled facts that would
establish that Defendant acted or threatened to act unlawfully
pursuant     to    either      the   parties'      contract   or    Texas     law.
Accordingly, Plaintiff cannot sustain an unfair debt collection
claim based on Defendant's exercise of its rights under the

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contract. Plaintiff's Original Petition cites Texas cases in which
Debt Collection Act claims succeeded where the defendant foreclosed
without providing proper notice.            See, e.g., Rey v. Acosta, 860
S.W.2d 654, 659 (Tex. App.-El Paso 1993, no writ); Dixon v. Brooks,
604 S.W.2d 330, 334 (Tex. App.-Houston             [14th Dist.]    1980, writ

ref'd n.r.e.) .      But as explained above,        Plaintiff has not pled
facts that would establish Defendant unlawfully failed to provide
notice.
       Plaintiff also alleges that Defendant failed to provide her
with a payment history and explanation of costs incurred,                    and
generally took advantage of her and stalled her efforts to cure. 19
The allegations do not identify any actual conduct by the Defendant
or how it constitutes a violation of the Debt Collection Act.
Naked, conclusory assertions do not suffice to state a valid claim
for which relief may be granted.          Iqbal, 129 S. Ct. at 1949. While
the pleading standard under Twombly and Iqbal do not require
detailed factual allegations, Plaintiff's Original Petition does
not set out a plausible basis for Defendant's alleged liability.

Plaintiff's claim accordingly fails as a matter of law.

D.    Unreasonable Collection Efforts

      Plaintiff    alleges    a   claim     for   the   common-law    tort   of
unreasonable     collection    efforts.       A   claim   for     unreasonable


      Original Petition, Exhibit A-3 to Notice of Removal, Docket
      19

Entry No. 1-2, p. 16 11 26-27.
                                     -10-
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collection efforts must show the defendant engaged in a course of

harassment that was willful, wanton, malicious, and intended to

inflict mental anguish and bodily harm.               DeFranceschi v. Wells

Fargo Bank, N.A., 837 F. Supp. 2d 616, 624 (N.D. Tex. 2011); EMC

Mortgage Corp. v. Jones, 252 S.W.3d 857, 868-870 (Tex. App.-Dallas

2008, no pet.).        The facts Plaintiff alleges to support this claim

are that Defendant refused to work with her to reform their

agreement or create a payment plan, added additional fees to the

balance for her continued failure to pay,               refused to provide

plaintiff with a history of payments, and moved to foreclose on the

Property.20 These facts, taken as true, do not suffice to establish

a willful, wanton, and malicious course of harassment intended to

inflict harm on the Plaintiff.             Plaintiff's claim therefore fails

as a matter of law.


E.    Deceptive Trade Practices Act

      Plaintiff claims the Defendant violated the Texas Deceptive

Trade Practices Act ("DTPA") by failing to respond to Plaintiff's

calls, changing the person in charge of the loan, failing to send

notices, and representing the contract to contain rights, remedies

or obligations that it does not contain or that are prohibited by

law. 21    Defendant argues that Plaintiff's DTPA claim fails because



      20
           Id. at 16-17    11    29-30.
      21
           Id. at 19   1   35.

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a recipient of loan money or credit is not a "consumer" under the

statute.

      Only a "consumer" may maintain an action under the DTPA.               See

Tex. Bus.   &     Com. Code§ 17.50 ("A consumer may maintain an action

       ."); Cameron v. Terrell        &   Garrett, Inc., 618 S.W.2d 535, 538

(Tex. 1981) .        The statute defines "consumer," and part of the

definition is the consumer "seeks or acquires by purchase or lease,

goods or services."       Tex. Bus.       &   Com. Code§ 17.45(4).   "Goods" are

"tangible chattels or real property" and "services" are "work,

labor or service."        Id.   §§   17. 5(1), (2).      The goods or services

must form the basis of the consumer's DTPA complaint.                Cameron, 618

S.W.2d at 539.       Texas courts and the Fifth Circuit have held that

a money loan is neither goods nor services under the DTPA.                 �.
James v. Wells Fargo Bank, N.A., 533 F. App'x 444, 447 (5th Cir.

2013); Riverside National Bank v. Lewis, 603 S.W.2d 169, 174-75

(Tex. 198 O ) •     Even if money was borrowed to purchase chattel or

real property, the borrower whose complaint arises from the loan

and not the purchased goods does not qualify as a DTPA consumer.

Central Texas Hardware, Inc. v. First City, Texas-Bryan, N.A., 810

S.W.2d 234, 236-37 (Tex. App.-Houston                 [14th Dist.]    1991, writ

denied) (citing Cameron, 618 S.W.2d at 539)                 And a refinance of

loans attached to an already-purchased good does not qualify as a

DTPA good or service.       Fix v. Flagstar Bank, FSB, 242 S.W.3d 147,

160 (Tex. App.-Fort Worth 2007, pet. denied).


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       Here, Plaintiff's DTPA complaint arises entirely out of the
refinance loan provided by Defendant.22 Plaintiff's contention that
the loan is sufficiently intertwined with the purchase of the

Property to qualify fails because her complaint arises solely from
the money loan.        Because the refinance loan is not a good or

service, Plaintiff is not a consumer under the DTPA and her claim
fails as a matter of law.

F.    Request for Injunctive Relief

      Plaintiff     has     requested     injunctive   relief    against     the
Defendant.     "Under Texas law, a request for injunctive relief is

not itself a cause of action but depends on an underlying cause of
action."       Cook    v.    Wells   Fargo     Bank,   N.A.,    Civil   Action
No. 3:10-CV-0592-D,       2010 WL 2772445, at *4 (N.D. Tex. July 12,
2010); Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002).
Because Plaintiff has failed to state a claim upon which relief can
be granted, she is not entitled to injunctive relief.


                       IV.     Conclusions and Order

       For the reasons discussed above, Plaintiff has failed to state
in her Original Complaint any claims upon which relief can be
granted.    Plaintiff has not appeared, requested leave to amend, or
provided the      court     with   any reason to believe        amending her



     22 Original Petition, Exhibit A-3 to Defendant's Notice of
Removal, Docket Entry No. 1-2, pp. 10-11 � 8; 18 � 33-34.
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pleadings would cure the deficiency.        Defendant's Fed. R. Civ. P.

12(b) (6) Motion to Dismiss Plaintiff's Complaint for Failure to

State a Claim (Docket Entry No. 5) is therefore GRANTED, and this

action will be dismissed with prejudice.

     SIGNED at Houston, Texas, on this 23rd day of October, 2019.




                                                 SIM LAKE
                                    SENIOR UNITED STATES DISTRICT JUDGE




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